                Case 2:11-cr-00190-KJM Document 275 Filed 02/25/16 Page 1 of 3


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 7
                               IN THE UNITED STATES DISTRICT COURT
 8                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,                         )       No. CR-S-11-190 MCE
                                                       )
11                                                     )
               Plaintiff,                              )       STIPULATION REGARDING
12                                                     )       EXCLUDABLE TIME PERIODS
     v.                                                )       UNDER SPEEDY TRIAL ACT;
13                                                     )       ORDER
     MANUEL KEITH, et al.,                             )
14                                                     )       Date: February 25, 2016
                                                       )       Time: 9:00 a.m.
15             Defendants.                             )       Judge: Honorable Morrison C. England, Jr.
                                                       )
16                                                     )
                                                       )
17

18             The United States of America through its undersigned counsel, Jason Hitt, Assistant
19   United States Attorney, together with counsel for defendant Manuel Keith, Jan David Karowsky,
20   Esq. hereby stipulate to the following:
21        1. By previous order, this matter was set for status conference on February 25, 2016.
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          2. By this stipulation, Manuel Keith now moves to continue the status conference until April
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     28, 2016 and to exclude time between February 25, 2016 and April 28, 2016 under Local Codes
24
     C and M.
25
          3.   The parties agree and stipulate and request the Court find the following:
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               a. At the status conference in this case, on November 20, 2015, it was expected by all
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                   parties that Mr. Keith would be entering a guilty plea pursuant to a written plea
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      Case 2:11-cr-00190-KJM Document 275 Filed 02/25/16 Page 2 of 3



 1      agreement, to which all parties had agreed. However, on November 18, 2015,
 2      counsel was informed that Mr. Keith had been detained in New York City on certain
 3      criminal charges. Counsel has inquired of the attorney representing Mr. Keith on the
 4
        New York charges, and has been informed that he remains detained, since he has not
 5
        been able to post bail. I am currently in touch with Mr. Keith’s attorney in New York
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        City who informs me is still trying to determine the most efficient manner in which to
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        proceed in both the New York case and the instant case. That attorney is attempting
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        to negotiate with the local prosecutor, but will not have any relevant information for a
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        number of weeks. That attorney believes he needs more time to attempt to determine
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        the best order of resolving both the New York case and the instant case, and, as he
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        explained it to me, so do I. Therefore, Mr. Keith requests a continuance of the status
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        conference to April 28, 2016, by which time it is hoped more definite information
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        may be available.
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     b. The Government does not object to the continuance.

16   c. Based on the above-stated findings, the ends of justice served by granting the

17      requested continuance outweigh the best interests of the public and the defendant in a

18      speedy trial within the original date prescribed by the Speedy Trial Act.

19   d. For the purpose of computing time under the Speedy Trial Act, 18 United States Code
20      Section 3161(h)(7)(A) within which trial must commence, the time period from
21      February 25, 2016 to April 28, 2016, inclusive, is deemed excludable pursuant to 18
22      United States Code Section 3161(h)(1)(B), other state charges are pending, and
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        (h)(3)(A & B) unavailability of the defendant, pursuant to corresponding Local Codes
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        C and M, because it results from a continuance granted by the Court at defendant’s
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        request on the basis of the Court’s finding that the ends of justice served by taking
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        such action outweigh the best interest of the public and the defendant in a speedy
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        trial.
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              Case 2:11-cr-00190-KJM Document 275 Filed 02/25/16 Page 3 of 3



 1     4.   Nothing in this stipulation and order shall preclude a finding that other provisions of the
 2          Speedy Trial Act dictate that additional time periods are excludable from the period within
 3          which a trial must commence.
 4
     IT IS SO STIPULATED.
 5
     DATED:         February 25, 2016                      BENJAMIN WAGNER
 6                                                         United States Attorney
 7
                                                           /s/ Jason Hitt
 8                                                by
                                                           Jason Hitt
 9                                                         Assistant U.S. Attorney
10
                                                           by Jan David Karowsky
                                                           w/ Mr. Hitt’s consent
11
     DATED:         February 25, 2016                      JAN DAVID KAROWSKY
12                                                         Attorney at Law
13
                                                           A Professional Corporation

14                                                         /s/ Jan Karowsky
                                                  by
15
                                                           JAN DAVID KAROWSKY
16                                                         Attorney for Defendant
                                                           Manuel Keith
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             IT IS SO ORDERED.
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20   Dated: February 25, 2016
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